     Case 3:11-cr-04600-DMS   Document 27   Filed 11/01/11   PageID.72   Page 1 of 1




                                                                         NOV -11~!!J
                       UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF CALIFORNIA
                                                                    g&I;ftI\o u.i. O'litTtCT COURT
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UNITED STATES OF AMERICA,                   CASE NO. 11CR4600-~~~~--------~--~

                      Plaintiff,
               vs.                          JUDGMENT OF DISMISSAL
FRANCISCA CHI SERVENTI (02)

                      Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

    an indictment has been filed in another case against the defendant and
    the Court has granted the motion of the Government for dismissal of
    this case, without prejudice; or

    the Court has dismissed the case for unnecessary delay; or

~   the Court has granted the motion of the Government for dismissal; or

     the Court has granted the motion of the defendant for a judgment of
     acquittal; or

     a jury has been waived, and the Court has found the defendant not
     guilty; or

     the jury has returned its verdict, finding the defendant not guilty;
     of the offense(s) of: __________________________________________________


          IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


DATED: 11/01/11
                                            RUBEN B. BROOKS
                                            UNITED STATES DISTRICT JUDGE



                                            ENTERED ON
